   Case 19-41144-JMM             Doc 11 Filed 12/06/19 Entered 12/06/19 10:32:57                    Desc Income
                                      Tax Turnover Order Page 1 of 1
(Local Form OINCTX) (09/19)
                                   UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF IDAHO


In Re:                                                      )
                                                            )
Jennifer Lynn Wright                                        )   Case Number:       19−41144−JMM
521 W. D. Street                                            )
Shoshone, ID 83352                                          )   Chapter Number: 7
                                                            )
Social Security No.: xxx−xx−6351                            )
Employer's Tax I.D. No.:                                    )
                                                            )
                        Debtor                              )
                                                            )
____________________________________________

                                        INCOME TAX TURNOVER ORDER


THE DEBTORS ARE HEREBY ORDERED as follows:

FILING TAX RETURNS: You are ordered to properly file all required income and other tax returns with the Federal
Government (Internal Revenue Service), any state and other taxing authority (collectively herein "Tax Returns"),
within the time limits provided by law. This order shall apply to all tax years or other periods which arise during the
pendency of this case. This order also includes Tax Returns for the preceding calendar or tax year. Be advised that
this order includes Tax Returns for all prior years or periods for which Tax Returns were required but which were not
filed before your bankruptcy case commenced.

COPIES OF TAX RETURNS TO TRUSTEE: You are further ordered to deliver, to the trustee in this case, a copy of
the Tax Returns, including any amended Tax Returns, which must be filed under and pursuant to the preceding
paragraph, or a transcript of such Tax Returns. Copies of Tax Returns shall include any corresponding Forms W−2
and 1099.

DELIVERY OF REFUNDS: You are further ordered to turn over to the trustee all income tax refunds now held or
hereafter received by you while the case is open.

LOSS OF DISCHARGE AND OTHER SANCTIONS: A willful failure to obey this order (for example a failure to
file required Tax Returns, failure to provide copies of all Tax Returns to your trustee or a transcript of such Tax
Returns, or failure to turn over all refunds) may result in a loss of your right to a bankruptcy discharge of
indebtedness, dismissal of your case, and/or other possible sanctions.


THE TRUSTEE ASSIGNED to your case is:

                 Gary L Rainsdon
                 POB 506
                 Twin Falls, ID 83303
                                                                Stephen W Kenyon
Dated: 12/6/19                                                  Clerk, U.S. Bankruptcy Court
